               Case 6:21-cv-00668-ADA Document 28 Filed 11/22/21 Page 1 of 4 Filed: 11/22/21
Case No: 6:21cv668
                                                                                   Doc. #28
                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION
     VOIP-PAL.COM, INC,

     vs.                                                  Case No.: 6:21-cv-00668 ADA
     AMAZON.COM, INC.;
     AMAZON.COM, SERVICES LLC; and
     AMAZON WEB SERVICES, INC.,
                             MOTION FOR ADMISSION PRO HAC VICE

     TO THE HONORABLE JUDGE OF SAID COURT:

            Comes now Christopher Kelley                                       , applicant herein, and

     moves this Court to grant admission to the United States District Court for the Western District of

     Texas pro hac vice to represent Amazon.com, Inc., et al.                          in this case, and

     would respectfully show the Court as follows:


            1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
                    Perkins Coie LLP                                         with offices at:

                    Mailing address: 3150 Porter Drive

                    City, State, Zip Code: Palo Alto, CA 94304

                    Telephone: 650-838-4300                      Facsimile: 650-838-4350


            2.      Since    December 6, 1993                      , Applicant has been and presently is a

                    member of and in good standing with the Bar of the State of California                   .

                    Applicant's bar license number is 166608                                                 .


            3.      Applicant has been admitted to practice before the following courts:

                    Court:                                       Admission date:
                    USDC Northern District of California         11/19/96

                    USDC Eastern District of California          3/10/97

                    USDC Central District of California          12/6/93
                    District of Colorado                         5/12/13
                    Court of Appeals 9th Circuit                 12/14/93
                    Court of Appeals Federal Circuit             12/20/99
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):




5.    I         have      have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
          N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):
          N/A




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel:     M. Craig Tyler

                 Mailing address: Perkins Coie, 500 W. 2nd Street, Suite 1900

                 City, State, Zip Code:   Austin, TX 78701

                 Telephone:     737-256-6100


          Should the Court grant applicant's motion, Applicant shall tender the amount of $.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
 Christopher Kelley                       to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Christopher Kelley
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 22nd day of                           , 2021 .

                                                        Christopher Kelley
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

VOIP-PAL.COM, INC,

vs.                                                      Case No.: 6:21-cv-00668 ADA
AMAZON.COM, INC.;
AMAZON.COM, SERVICES LLC; and


                                                       ORDER

       BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Christopher Kelley                                          , counsel for

Amazon.com, Inc., et al.                                 , and the Court, having reviewed the motion, enters

the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

 Christopher Kelley                       may appear on behalf of Amazon.com, Inc., et al.

in the above case.

       IT IS FURTHER ORDERED that Christopher Kelley                                              , if he/she

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-l(f)(2).

       SIGNED this the                day of                                         , 20          .




                                                          Please Choose Judge




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